Case 8:22-cr-00259-WFJ-AEP   Document 296-303   Filed 09/17/24   Page 1 of 8 PageID
                                     5203




                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 345A

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
                     Case 8:22-cr-00259-WFJ-AEP               Document 296-303           Filed 09/17/24       Page 2 of 8 PageID
                                                                      5204

Apple Confidential
Account Details
DSID: 17514180899
Col. V may contain multiple data points regarding additional email addresses associated with the Apple ID, including the Additional Email, t
Col. W may contain multiple data points regarding iCloud Mail Aliases, including the iCloud Mail Alias, Mail Alias Type (for example: active

Apple ID                                         DS ID            Account Type         Login Alias      First Name       Last Name
gt68art@gmail.com                                17514180899      Full iCloud                           Евгений          Висторопский
                      Case 8:22-cr-00259-WFJ-AEP                 Document 296-303         Filed 09/17/24       Page 3 of 8 PageID
                                                                         5205




the Additional Email Type and the Vetting Status for any additional email addresses.
or deleted), date mail alias was created and date mail alias was modified. Note: an iCloud Mail Alias can be alternative email handle(s) for the

Country                Language        Time Zone        Account Status         Created On                    Address Line 1
Russian Federation     RU‐RU                            Active                 Fri, 30 Oct 20 05:13 (PT)     Улица Славянская , дом 20
                       Case 8:22-cr-00259-WFJ-AEP               Document 296-303           Filed 09/17/24        Page 4 of 8 PageID
                                                                        5206




e primary iCloud mail address, which if applicable, is indicated in Col D; or when the Apple ID is an icloud.com domain in Col. A.

 Address Line 2         Address Line 3         Address Line 4         City            Postal Code       Country Code            Day Phone
                                                                      Рассказово      393250            Russian Federation      1‐999988766
                Case 8:22-cr-00259-WFJ-AEP   Document 296-303     Filed 09/17/24   Page 5 of 8 PageID
                                                     5207




Evening Phone   FaceTime / iMessage Phone    Verified Phone     Unverified Phone
                +79999887666                 79999887666
                  Case 8:22-cr-00259-WFJ-AEP          Document 296-303     Filed 09/17/24   Page 6 of 8 PageID
                                                              5208




Additional Phone Numbers_Type                                  Registration IP Address
+7 999 988‐76‐66Reachable At Phone1‐999988766 Day Phone        109.252.60.134
                   Case 8:22-cr-00259-WFJ-AEP   Document 296-303     Filed 09/17/24   Page 7 of 8 PageID
                                                        5209




Additional Emails_Type_Vetting Status      iCloud Mail Aliases_Type_Created On_ Modified On
gt68art@gmail.comprimaryVerified
                   Case 8:22-cr-00259-WFJ-AEP           Document 296-303   Filed 09/17/24   Page 8 of 8 PageID
                                                                5210




Sign in with Apple Private Email Relay Address                             Game Center Nickname
ywpfvfpsky@privaterelay.appleid.comc6v5pj5sqc@privaterelay.appleid.com     Игрок_4346878485
